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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

RAMON JIMENEZ,
                       Plaintiff                                     CIVIL ACTION

               v.

BEST BEHAVIORAL
HEALTHCARE, INC. et al.,                                             No. 18-1003
              Defendants

                                             ORDER

       AND NOW, on this 3rd day of December, 2019, upon consideration of the Plaintiffs

Motion for Liquidated Damages (Doc. No. 43), the Defendant's opposition (Doc. No. 46), the

Plaintiffs reply (Doc. No. 47), the Plaintiffs Motion for Attorney Fees and Costs (Doc. No. 48),

the Defendant's opposition (Doc. No. 51), the Plaintiffs reply (Doc. No. 52), and the parties' joint

stipulation to dismiss Count I of the Plaintiffs complaint without prejudice (Doc. No. 42), it is

ORDERED that the Motion for Liquidated Damages (Doc. No. 43) is GRANTED, and the

Motion for Attorney Fees and Costs (Doc. No. 48) is GRANTED IN PART and DENIED IN

PART. The Plaintiff is awarded liquidated damages in the amount of $8,170.75, attorney fees in

the amount of $65,705, and costs in the amount of $15,541.59. Judgment is therefore entered in

favor of the Plaintiff and against the Defendant in the sum of 89,417.34. It is further ORDERED

that the Court APPROVES OF and ADOPTS the parties' stipulation (Doc. No. 42). The Clerk

of Court is directed to and shall CLOSE this case, including for all statistical purposes.
